USCA Case #25-5072           Document #2107891                Filed: 03/26/2025      Page 1 of 1



                  United States Court of Appeals
                              FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                        ____________
No. 25-5072                                                    September Term, 2024
                                                                            1:25-cv-00429-TSC
                                                            Filed On: March 26, 2025
In re: Elon Musk, in his official capacity, et al.,

               Petitioners


       BEFORE:        Henderson, Millett, and Walker, Circuit Judges

                                           ORDER

      Upon consideration of the petition for writ of mandamus, the response thereto,
and the reply; and the emergency motion for stay, the responses thereto, and the reply,
it is

        ORDERED that the emergency motion for stay be granted and the district court’s
March 12, 2025 order be stayed pending further order of this court. Petitioners have
satisfied the stringent requirements for a stay. See Nken v. Holder, 556 U.S. 418, 434
(2009); D.C. Circuit Handbook of Practice and Internal Procedures 33 (2024). In
particular, petitioners have shown a likelihood of success on their argument that the
district court was required to decide their motion to dismiss before allowing discovery.
See generally Cheney v. U.S. Dist. Ct. for D.C., 542 U.S. 367, 389–90 (2004). The
parties are directed to promptly notify this court upon the district court’s disposition of
petitioners’ motion to dismiss. It is

       FURTHER ORDERED, on the court’s own motion, that case No. 25-5072 be
held in abeyance pending further order of this court.


                                          Per Curiam


                                                              FOR THE COURT:
                                                              Clifton B. Cislak, Clerk

                                                      BY:     /s/
                                                              Selena R. Gancasz
                                                              Deputy Clerk
